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                               PARMA MUNICIPAL COURT
                                         PARMA,omo
                                                        JUDGFJMAGISTRATB

                                                        CASE NO:
                                                        ORDER
                                                        SEALINGAFJ!11>AVII AND
                                                        SEABCH WARRANT

   IN 'IHE MAITER OF AFFIDAVIT AND SEARCH WARRANT:

          The Court finds that Detective Thomas Connor, Badge No. 764 oC the Panna
   Police Department has   recei~ed   a Search Warran~ to be served upon Facebook Inc for
   Facebook      URL    http://www.facebook.com/TheCityofParmaPoliceDepanment            and
   http:J/"YroY.facebook.com/anthony. h. noyak .
          The Court finds that evidenoo seized punuaot to said Search Warrant will be used
  in the investigation and prosecution ofcriminal violations of State Laws.
          The Court further finds that the information contained in the Affidavit arc of such
  nature that disclosure will mdanset witnesses and hinder the investigation and
  prosecution.
          THEREFORE, it is the ORDER of this Court that the Affidavit and Search
  Warrant tendered in support ofthe Search Warrant not be illUed to any peraon except the
  Cuyahoga County Prosecutor's office and the City of Parma Prosecutor's office. This
  Affidavit and See.rob Warrant shall be ao sealed and issuance or oopies so proluoited until
  such time that by petition to the Court an int                                            f
  Justice require the change of this Order.

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  DA:    ·- -- - -
                                                       JUDGFJMAGISTRATE
                                                       PARMA MUNICIPAL COURT
                                                       PAilMA,OIDO




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                              SEARCH WARRANT RETURN

       I received the attached Search Warrant on 3-25-16 and have executed it as
   follows: On 3-3-16                           at 1:10 PM            I searched:

  _ _ the person _                tho premises ~ the property a& de&al1>ed in the warrant

   and I left a copy of the warrmx with:             Facebook: loo.
                                                   ----~~-~--=-~--=----.,-~
                                                            together with a receipt for the items seized.
  --,----=---:--------~
   (persoa &c8JCht.d • or OWDDI" of place of seardl - or on prcmi.9cs)

                 SEE INVENTORY LIST A1TACHED MARKED EXHIBIT B

         This inventory wu made in the presence of                  Det. Scott Traxler

        I swear that this inventory it a true and detailed account
   me on the warrant.




  SUBSCRIBED AND SWORN to



                                                       Judge,. Parma Municipal Court
                                                       ~Ohio

                                            JOURNAL ENTRY

  On this the day ofFebruary, 2016, and upon the receipt of the within Search Warrant.
  it is hereby onlered and decreed                                     d by the
  Prosecuting Attorney for                                                    ·th
  according to law.


                                                Judge, ·Parma Municipal Court
                                                Parma, Ohio




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 STATE OHIO                  )                    PARMA MUNICIPAL COURT
                             )                    CRIMINAL DIVISION
 ClTY OF PARMA               )
                                                  SEARCH WARRANT


 To:    THE CHIEF OF POLICE OF ntE PARMA POLICE DEPARTMENT AND/OR
        DETECTIVE THOMAS CONNOR BADGE #764 AND/OR ANY LAW
        ENFORCEMENT OFFICER AS AUTHORIZED BY LAW.

        WHEREAS there hes been filed with me an affidavit, a copy of which is attached

 hereto, designated as Exhibit A, and incorporated herein as though fully rewritten,

 wherein the Affiant avers that he believes and has good cause to believe that within:

 Facebook Inc., Palo Alto, CA there is now being kept, concealed, and possessed the

 followtng evidence of a crimlnal offense:

        •   Facebook profile for The City of Panna Police Department, Facebook URL

            http://www.facebook.com/TheCityofParmaPoliceDepartment

        •   Facebook profile for Anthony Novak, DOB: 11-27-88, Facebook URL

            http:/Avww.facebook.cornlanthony.h.novak:

       Alf of the following records for date range from February 1. 2016 through
       March 3, 2016: Neoprint profile, Including wall posts, deleted wall posts,
       non-deleted and deleted private messages between users, status
       updates, friends lists, deleted friends fists; Neophotos, including all photos
       updated ·by any user which contains the requested user tagged in them:
       Neomassages; All user contact information, All group contact Information:
       IP addresses associated with the creation of the accounts and/or any and
       all other evidence tending to establish vio'atton of the criminal laws of the
       State of Ohio, to wit: Ohio Revised Code Chapter 2909.04.


       I am satisfied that there is probable cause to believe that the above described

stored electronic data, which is befng maintained by Facebook Inc., Palo Alto, CA, and

.that grounds for Issuance of this search warrant exist.



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   THEREFORE: Pursuant to 18 USC 2703 and/or the Laws of the State of Ohio. You

are hereby commanded In the name of the State of OhiO, With the necessary and proper

assistance., to serve this warrant upon Facebook Inc., Palo Alto, CA within three days of

the date hereof, for the Information speclfted, and If the property or any part thereof be

found there, Facebook Inc., Palo Alto, CA, is commanded to seize It and provide the

information   to Detective Thomas Connor, Badge No. 764 via                   e~mail   to

tom.connor@pannajustlce.net and not disclose the existence of this warrant or any

court order to any persons unless ordered by the court. Upon reoelvlng the information

requested Detective Thomas Connor, Badge No. 764, Is ordered to retum this warrant

to the undersigned or any Judge of the Parma Municipal            court, and to bring the
property found on such search forthwith before said Judge, or some other judge or

magistrate of the court having cognizance thereof.

      Given my hand this    l1~R   - 3di~1,~'   a




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                                            EXHIBIT A

 STATE OF OHIO                )              PARMA MUNICIPAL COURT
                              )              CRIMINAL DIVISION
 CITY OF PARMA                )

                           AFFIDAVIT FOR SEARCH WARRANT

           Before me, a Judge of the Penna Municipal Court, Parma, Ohto, personally

appeared the undersigned Detective Thomas Connor, Badge No. 764, who, being first

duly swom, deposes and says that he is a Detective with the Parma Police Department

and that his training and experience Include the following: 18 years 3 months as a

member of the Panna Police Department of which the past 16 years 5 months have

been as a Detective. Detective Connor has conducted hundreds of investigations,

Including Investigations of all felonies.

       Afflant states that he has probable cause to believe that at Facebook Inc., Palo

Alto, CA, there is now being kept, concealed, and posseS$8d the following evidence of a

crlmlnal offense:

       •        Facebook profile for The City of Panna Police Department,

      Facebook URL: http://facebook.com/TheCltyofParmaPollceOepartment.

      •         Faoobook profile for Anthony Novak, DOB: 11-27-88, Facebook

      URL: http:l/facebook.com/anthony.h.novak

      All of the following records for date range from February 1, 2016 through
      March 3, 2016: Neoprint profile, Including wall posts, deleted wall posts,
      non-deleted and deleted private messages between users, status
      updates, friends lists. deleted friends lists; Neophotos, Including all photos
      updated by any user which contains the requested user tagged In them;
      Neomessages; All user contact Information, All group contact lnfonnatlon,
      IP addresses associated with the creation of the accounts; and/or any and


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      all other evidence tending to establish violation of the crimlnal laws of the
      State of Ohio, to wit: Ohio Revised Code Chapter 2909.04.


      The facts upon which affiant bases such belief Js as follows:



   1. Afflant avers that on March 2, 2016, The Parma Police Department was made

      aware of a fake Facebook account that was established, wherein it appeared to

      match the real Facebook. account, used and maintained by the Parma Police

      Department..

   2. Afflant avers that the Parma Pollce Department Facebook page is maintained

      by Lieutenant Kevin RUey, Det. Jeff Wells and Det. Amanda Kaniecki. The

      Parma     Police    Department      Facebook      page     has    a    URL      of

      hftD;//facebook.com/CttvofParmaPoliceDeoartment. The fake page that was

     created has a URL of http://fgs;ebook.com!TheCityofPannaPol!ceQepartment.

  3. Afftant avers that the Panna Police Department maintains this Facebook page

     to communicate public safety Information to residents and commuters to the

     City of Parma.

  4. Afflant avers that several posts were put onto the fake Facebook page In which

     one post Indicated that the Parma Poflce would be arresting residents who

     attempted to help homeless people in the city and that If they did help the

     homeless, they would receive 60 days in jail. Another post indicated that the

     Parma Ponce Department would be holdlng an event sponsoring teen abortions

     and yet another post said that the Parma Police Department was accepting

     application and "minorities need not apply•. All of these posts purported to


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      represent the Parma Police Department.

   5. Affiant avers that the user who was posting this information purported himself to

      be a representative of the Parma Police Department, as exact images used on

      the real Facebook page were used on         the   fake Facebook page. The user

      further disrupted and impaired the function of the Parma Police Department by

      knowlngly posting false lnfonnation.

  6. Affiant avers that the lnltJal account that shared this page was anthony.h.novak

     on March 2, 2016.

  7. Affiant avers that a search was conducted of Anthony Novak, herein referred to

     as Novak. Novak's Facebook page showed a post from March 2, 2016 which

     stated "I am going to say, I woke up and feel very satisfied by my actions right

     now" and a comment under the same post by Novak shows him stating •rm not

     willing to do time for this guys. You'll be leaving this city In a body bag".

  6. Afflant avers that on March 2, 2016 a preservation letter and subpoena were

     sent to Facebook Jnc. It was requested by the Parma Police Department that

     Facebook Inc. take down the fake page or suspend it immediately.                The

     subpoena requested that Facebook Inc. provide the IP address for the user Who

     established that fake account.

  9. Affiant avers that a phone call was placed to Northeast Ohio Internet Crimes

     Against Children's Task Force Jn an attempt to get a direct phone number for

     Facebook Inc. An email address was provided to Jason Barry, herern referred

     to as Barry. Afflant emailed Barry and requested that fake account be taken

     down or suspended immediately.


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  10.Afflant avers that during the evening hours of March 2, 2016. Barry did send a

     follow up email, in which It stated that •the records team was working on it now".

  11.Afflant avers that he checked Facebook on March 3, 2016 and found that the

     fake account had been removed.

  12.Affeant avers the      fake Facebook account showed the              URL        being

     http:/ITheCityofParmaPollceDepartment.

  13.Afflant avers that Novak uses a Facebook account with the URL being

     http://wvVw.facebook.com/anthony.h.novak.

  14.Based on these facts, Afffant avers that there are reasonable grounds to believe,

     and does believe, that the above described records. and/or other Information are

     relevant and material to the ongoing criminal investigation.

  15. Based on these facts. affiant avers that he has probable cause to believe, and

     does believe that the above described information can be found at the above-

     descrtbed company.

  16.Affiant avers that Facebook Inc. is an out of state company that provides

     lnformation via the lntemat to users in Ohio. Affiant avers that the evidence

     requested/ordered arises from evidence obtained in Ohio but stored in Callfomla.

  17.Affiant is aware that seizing stored communications may implicate privacy rights

     which Congress believed Important enough to protect under the Electronic

     Communication Privacy Act (ECPA). spectfically 18 U.S.C. 2703. Such material

     Is further protected by Ohio Revised Code 2933.51, et. Seq. In executing this




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       warrant, it is possible that such oommunicatlons may be seized, along with other

       material encompassed In the warrant.




      FURTHER AFFIANT SAYETH NAUGHT


                                 Detective Thomas   nnor, Badge # 764
                                 Parma Pohce Department             ~

                                                    .     "~\\ _ 1 in~
Sworn to before me and subscribed In my pre1re~::e this           day o     arch 2016.



                                 JUDGE                                                         rt
                                 PARMA MUNICF>AL cou         '\ffAR ~ :i t.u lll Jz] '15" f,
                                 PARMA, OHIO




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                                                  Case: 1:17-cv-02148-DAP Doc #: 107-6 Filed: 11/16/20 10 of 12. PageID #: 22483
                                                                                                                                                                                    CASE#          \    ltJ (   ,_Jv_1_ __
                                                                                 PARMA POLll                                  DEPARTMENT

1e                   Tec. <:....o oo 'f-
                                                                                SEARCH WARRANT INVENTORY LIST

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                                                                                                                                                                                    PAGE NUMBER



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Ii         NAME

           ADDRESS

           CITY/PHONE
                              -

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                                                             =;I.,.:.c:. .                        DATE OF WARRANT



                                                                                                                                               DATE/TIME EXITED
                                                                                                                                                                 TYPE OF WARRANT .

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                                City of <Parma, Ohio
                                          Panna Police Department
                                         Department of Public Safety
440.887.7300 Telephone                 5555 Powers Blvd. • Parma, Ohio 44129                      440.887.7380 Fax
ROBERT C. MILLER                                 TIM DEGEETER                             THOMAS WM. WEINREICH
 OllEF OF POLICE                                      MAYOR                                   SAFElY DIRECTOR




                                                 March 2, 2016
            Facebook Inc.
            1601 Willow Road
            Mento Park, CA
            A'ITN Legal CompJilJl(;e

            Re: Preservation hquest

            Dear Custodian of Records:

            The Parma Polic:e Department is making a preservation request for the below listed
            Facebook account;

            The City of Panna Polic:e Department

            Wo anticipate serving a search warrant for any and all information regarding this account,
            to include the IP address of the person establishing this account between February Jj
            2016 and March 2, 2016.

            Please retain aJI the requested records pending the service ofa search warrant.



            If you require any further information, please contact Det. Thoma& Connor at (440) 887-
            7332 or by email at tom.connor@parmajustice.net




                   ADDRESS All COMMUNICATIONS TO THE OFFICE OF THE CHIEF OF POUCE
                                                                                              NOVAK001~,       .._. uo
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                                                SUBPOENA\/.!l :..).'£~,f.~ MUNICIPAL COURT
                                                                                                    5555 POWERS BLVD.
                                                  (ORD.ER TO APPEAR~ 6 MAR        ··{. AH 8: 58 PARMA, omo 44129

11IE STATE OF OHIO                )
                                  )
CUYAHOOA COUNTY                   )

                                                                                   CASENO. 1605007
YOU ARE COMMANDED TO SUMMON:

Facebook Inc.
1601 Willow Road                                                           ISSUBR:         CfIY OF PARMA
Memo Park. CA
                                                                                           PROSF.curoR·s OFFICE

TO ATI'END AND TESTIFY AS A WITNESS BEFORE SAID MUNICIPAL COURT ONTIIE
- - --          DAY OF_ _F.-O...................::..aa<,___ 20_ _
                             RIHWflH                               ---J   AT _ _ _ O,CLOCK _ _ M

IN 1llE PARMA MUNICIPAL COURT, AT 555$ POWERS BLVD., PARMA OHIO 44129

IN BEHALF OF THE ( ) STATE ( ) PLAINTIFF ( ) DEFENDANT IN A CERTAIN CAUSB PENDING IN SAID
COURT. AND THERE TO 01VE TESTIMONY AND nm TRUill TO SAY, TOUCHING A CERTAIN
COMPLAINT MADE IN BEHALF OF nm STATB.


                                                            vs
                                                       Investiption

( ) SUBPOENA DUCES TECUM:
PwsuaJJt to 18 USC 2702(d) udlor Ohio State Law equivalent. this Court has found specific and articulable met.
sufficient to form a reasonable belief that 1hc information sought in this order to be relevant lllld material to an onsoing
criminal investigation. This Court dirocta Faeebook Inc.

TO PRODUCE AT nm TIMEAND PLACE AFORESAID CERTAIN RECORDS TO wrr:

Provide Det. Thomas Connor of'tbe Panna Police Departmept with the IP nddgt for the user who esgbliMM the account
·Ue City of Parma Police Dcponrnent".  This account ii fraudu1eot and is impensmatina a police ckpartment. It is also
requested that Facobook Inc. supeAd or remoye this accowc. It is belieyecl this account was established between
Fcbnwy 1, 2016 agd March 2. 2016. Email the iafomiation to ))et Connor at t.om.gn~iustice.nct.

FAILURE TO APPEAR. AT THE TIME/PLACE HEREIN MAY BE DEEMED A CONTEMPT OF COURT.

WITNESS MY SIGNATURE AND SEAL OF SAID COURT 11IlS :J ~ DAY OF /S1 ~                                            ,20   Jt

MARTINE. YIITARDL CI.mu< OF COUR.T
                                                                  Judge/=~ P,{i,o


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